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AO 470 (8/85) Order of Temporary Detention aos 1

United States District Court

EASTERN DISTRICT OF VIRGINIA sess

UNITED STATES OF AMERICA

V. ORDER OF TEMPORARY DETENTION

PENDING HEARING PURSUANT TO

h BAIL REFORM ACT
H mol Chanock.
Pendens Case Number: 7 my at

Upon motion of the United States Attorney , itis ORDERED that a

detention hearing is set for GLb [II * at A OO ( {V

Date Time

before —The Honorable Theresa Carrol] Buchanan, United States Magistrate Judge
Name of Judicial Officer
United States District Court, 401 Courthouse Square, Alexandria, Virginia

Location of Judicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States marshal) (

 

 

) and produced for the hearing.
Other Custodial Official

Date: G | | UI CL —

Theresa Carroll Buchanan
United States Magistrate Judge

to five days upon motion of the defendant. 18 U.S.C. §3142(fXK2).

A hearing is required whenever the conditions set forth in 18 U.S.C. §3142(f) are present. Subsection (1) sets forth the grounds that may be asserted
only by the attorney for the Government: subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the
judicial officer's own motion if there is a serious risk that the defendan

t (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.

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*If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of the Government. or up

 
